
Freedman, J.
—I fail to perceive that the order appealed from violates any substantial right of the defendant. The action is brought to recover the sum of $2,200 as damages for the breach by the defendant of a contract made between defendant and plaintiff’s assignor for the use and occupation of certain rooms and for board and lodging for the defendant, his wife, two children and maid. The complaint fully sets out the contract and its terms, from which it appears that it was made for a certain specified term and at a rate agreed upon, and under it the plaintiff-seeks to recover for the term specified (with the exception of the first two weeks of the term) and at the rate agreed upon, viz.: One hundred dollars per week. The claim is, therefore, sufficiently particularized in the complaint, and any bill of particulars thereof which the plaintiff could be compelled to furnish would be a mere repetition of what he has already alleged.
The order should be affirmed, with ten dollars costs and disbursements.
Ddgbo and G-ildeesleeve, JJ., concur.
